           Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 1 of 23




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------X    Case No.:1:18-CV-07543 LGS
ANAS OSAMA IBRAHIM ABDIN

                                                Plaintiff,

                             -against-

CBS BROADCASTING, INC and/or CBS CORP.
AND/OR CBS All ACCESS, and/or CBS INTERACTIVE                               THIRD AMENDED
Netflix, INC.                                                               COMPLAINT
                                                                            JURY TRIAL DEMANDED
                                       Defendants.
--------------------------------------------------------------------X


Plaintiff, ANAS OSAMA IBRAHIM ABDIN, through his attorneys, JOHN JOHNSON Esq. and
ALLAN CHAN, Esq. complaining of the defendants, CBS Broadcasting, Inc. et al. upon
information and belief sets forth and alleges as follows:


                                               NATURE OF CLAIMS


    1. Plaintiff commences the instant action seeking damages and a permanent injunction due

         to defendants‘ infringement of plaintiffs duly copyrighted work which is composed of

         text, artwork and video hereinafter (―the Original Work‖). Plaintiff‘s final compellation

         of work was published in 2017. Plaintiff‘s Original Work actually became available to

         the public via world wide web, in 2014. Plaintiff holds a 2017 copyright in said work‘s

         Registration Number TX0008559280 as well as, any subsequent filings, if any. (Exhibit

         ―A‖). Plaintiff filed a prior 2015 copyright, which is not the subject of this action.

         Plaintiff seeks damages arising from the defendant‘s infringement of plaintiff‘s

         copyrighted works, as well as, other damages as delineated here in. The defendants are all

         active participants in the misappropriation of the plaintiff‘s work by including without
     Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 2 of 23




   limitation, writing, production, broadcasting and/or live streaming of Plaintiff‘s

   copyrighted work and continuing such infringement by creating a derivative work

   substantially similar to plaintiff‘s copyrighted work. The defendants incorporated

   plaintiff‘s copyrighted material in their work entitled ―STAR TREK DISCOVERY‖

   which was first broadcast by the defendants on September 24, 2017 (the ―infringing

   work‖). The infringement continued in subsequent broadcasts with the continued used of

   plaintiff‘s characters, and when defendants used and or incorporated plaintiff‘s work by

   morphing the special powers of the tardigrade in a human who continues to use the

   tardigrades‘ special powers in subsequent episodes.          Additionally, the defendants

   included other attributes of the Original Work which as described herein which became

   and remain focal elements of the on-going series. In fact, the special abilities attributed

   to plaintiff‘s Original Work, along with plaintiff‘s characters became the main difference

   between Star Trek Discovery and any other Star Trek show.

                             JURISDICTION AND VENUE
2. This court has jurisdiction over this action pursuant to 28 U.S.C. §101 et seq. (the ―Act‖)

   and pursuant to the principals of Supplemental Jurisdiction and/or Extra-Territorial

   Jurisdiction of this Court as delineated herein.

3. Additionally, this Court has jurisdiction pursuant to §1332 in that plaintiff is a citizen of

   Egypt and the defendants are U.S. corporations operating from headquarters in New York

   City, and the case and controversy exceeds $75,000.

4. Venue is proper in this district pursuant to 28 U.S. C. §1391 et seq., 1400(a) in that the

   defendants operate corporate headquarters, sign contracts and make corporate decisions

   regarding the infringing property within the jurisdiction of the Southern District of New
     Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 3 of 23




   York, resulting in continuous and systematic activity in New York State. Said

   headquarters are principal places of business for the defendants.



                                     THE PARTIES
5. Plaintiff, Anas Osama Ibrahim Abdin (hereinafter ―Abdin‖) is a citizen of the Republic of

   Egypt ad a resident of the state of Kuwait having an address of P.O. Box 5969 Safat

   13060, Kuwait.

6. Defendant CBS Broadcasting, Inc., and/or CBS Corporation (hereinafter ―CBS‖) is a

   New York corporation with a principal place of business at 51 West 52nd Street, New

   York, N.Y. and is the executive producer/producer of the infringing work, and

   responsible for the broadcast and/or streaming of the infringing work. At all relevant

   times CBS transacted and conducted business within the State of New York.

7. Defendant CBS Corp. a/k/a CBS Corporation is a New York corporation with its

   principal place of business at 51 West 52nd Street, New York, N.Y. it is the Parent

   Company which exercises dominion and control over all CBS programming and any

   deals to license any such programming, including without limitation its wholly owned

   subsidiaries such as, CBS INTERACTIVE, INC.

8. Defendant Netflix, Inc., (hereinafter ―Netflix‖)Purportedly licensed the infringing work

   and entered into a contract in the United States with the CBS defendants to stream the

   infringing work online internationally, while defendants CBS maintained all rights to

   stream or broadcast in the U.S. Netflix operates corporate offices within the State of New

   York at 245 West 17th Street New York, N.Y. and continues to make the infringing work

   available internationally. By their acting in concert Netflix engages in systematic and

   continuous acts which bear a substantial relationship to the copyright infringement. The
     Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 4 of 23




   international streaming of the infringing work(s) is derived from the licensing agreement

   entered into in the United states and purported second-generation copies of the work and

   derived from a U.S. mater copy. It is through the CBS defendants, and the interlocking

   agreements between the parties that allow Netflix to market and distribute the infringing

   work worldwide.

                                FACTUAL BACKGROUND
9. Between May of 2014 and July of 2017. Plaintiff completed and published several forum

   articles, artwork, and audio/video characters and creatures which formulated the basis of

   his science fiction script for an upcoming video game/storyboard. While some of the

   content in these articles was factual such a tardigrade in space, as a whole plaintiff‘s work

   is creative and clearly meets the standard for copyright protection, Atari Games v. Oman

   979 F. 2d 272. Plaintiff published and/or posted on-line these articles in Adventure

   Game Studio Forums, Anas-tronaut Blog, You Tube, Steam Games, and Reddit between

   on or about 2014 and September of 2017 prior to the premiere of Star Trek Discovery

   (the ―Original Work‖). Star Trek Discovery did not premiere until September 24, 2017.

10. All of plaintiff‘s protected material can be found at https:// anas-tronaut.blogspot.com. In

   addition, a simple search of tardigrades game will provide the researcher with links to the

   Original Work. The Original Work was not simply placed on a website, the internet

   gaming community embraced the Work therefore it is ubiquitous. Exhibit G.

11. The plaintiff has attached a list of all protected martial (Exhibit H) CD exhibit provided

   to court and opposing counsel. Additionally, plaintiff provides the court with a

   comparison of similarities between plaintiff‘s work and the defendant television program.

   (Exhibit I ) CD exhibit provided to court and opposing counsel. The defendants use of

   plaintiff material which is essential to the Star Trek Discovery‘s entire season, along with
     Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 5 of 23




   the derivative works created therein, can be found at Exhibit ―J‖, CD exhibit provided to

   court and opposing counsel.

12. Plaintiff‘s material was posted prior to the premiere of Star Trek Discovery on Adventure

   Game Studio Forum (hereinafter ―AGS‖) which is a popular widely disseminated online

   gaming forum with an estimated one million guests and users. Plaintiff‘s Original Works

   and the copyrighted work were available for viewing, playing and/or exposed to the AGS

   participants twenty-four hours a day, seven days a week, including their family and

   friends.   Upon information and belief, plaintiff‘s storyboard, including videos was

   distributed, and watched by fans on YOUTUBE approximately 3.2 million views, AGS

   approximately 200,000 exposing the game, storyboard and artwork to millions of science

   fiction fans. REDDIT numbers are currently undisclosed. The approximate number of

   blog views 100,000, Twitter, 6,800 and Steam 13 million views. Upon information and

   belief, the defendants accessed the plaintiff‘s widely distributed works. Plaintiff actively

   promoted his protected works on multiple websites and social media including

   commentaries: adventure game forum (2481 posts), Twitter (5000 tweets), Youtube (22

   videos), blog (201 posts), and Reddit (800 post)..

13. More fortuitously, plaintiff and defendants are members of the Steam community.

   ―Steam is a digital marketplace and video game platform used by tens of millions of PC

   gamers on a daily basis. The most popular games on Steam have more than 500,000

   players online at any given time… Steam [is] the largest digital marketplace for PC

   games.‖     https://www.msn.com/en-us/entertainment/gaming/these-were-the-12-highest-

   grossing-games-of-2018-on-steam-the-biggest-platform-in-pc-gaming/ss-BBRFCIb.

   Another website reporting directly from Steam itself, Geekwire reports 8.4 million
     Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 6 of 23




   concurrent users per day, https://www.geekwire.com/2017/valve-reveals-steams-

   monthly-active-user-count-game-sales-region/

14. Steam was reported to have earned ―revenue of $1,345,301.29, but, as is standard, Valve

   takes a 30 percent cut of Steam sales, leaving publishers and developers with 70

   percent…in this case $941k.‖ https:// www.engadget.com/2015/03/13valve-steam/. In

   2015 there were approximately 14 million Steam members poled regarding plaintiff‘s

   game.

15. Notwithstanding the fact that Steam Greenlight had its own internal problems, ―Steam

   Greenlight was launched in 2012 as a way for indie developers to get their games on

   Steam, even if they weren‘t working with a big publisher that had a relationship with

   Valve. Steam users would vote on Greenlight games, and Valve would accept titles with

   enough support to suggest that they‘d sell well. Kroll says that ―over 100‖ Greenlight

   titles have made $1 million or more…Steam Greenlight was launched in 2012 as a way

   for indie developers to get their games on Steam, even if they weren‘t working with a big

   publisher that had a relationship with Valve. Steam users would vote on Greenlight

   games, and Valve would accept titles with enough support to suggest that they‘d sell

   well.‖https://www.theverge.com/2017/2/10/14578780/valve-steam-greenlight-shut-

   down-direct-submissions. ―The merits of each game would be pitched to the audience

   and     those     garnering    the     most     votes     would      go     on     sale.‖

   https://www.wired.co.uk/article/valve-drops-steam-greenlight-for-steam-direct.

16. ―Now, five years since Greenlight started, we've seen over 90 Million votes cast on

   submissions in Greenlight. Nearly 10 Million players have participated in voting in

   Steam Greenlight, but over 63 million gamers have played a game that came to Steam via
           Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 7 of 23




          Greenlight. These players have logged a combined 3.5 Billion hours of game time in

          Greenlight titles." gamers have played a game that came to Steam via Greenlight. These

          players have logged a combined 3.5 Billion hours of game time in Greenlight titles.”

          https://steamcommunity.com/games/593110/announcements/detail/12659223215141825

          95. If one does the math, this is approximately one vote per user.



      17. Plaintiff submitted his game to Steam on or about November 21, 2014. At the time of

          plaintiff‘s submission, plaintiff‘s Original Works were required to undergo a process

          called ―greenlight‖. The greenlight process is similar to that which takes place in the

          television and movie industry. Instead of a television or movie executive giving the ―ok‖

          for the project to be aired, Steam required all members of Steam to access, view and

          approve the Original Work before it would be placed on the Steam website for millions

          of fans.   Notwithstanding the fact that Steam has moved away from the greenlight

          process to allow more games to reach the public,1 plaintiff‘s work had to endure the more

          arduous process of being greenlit first, before becoming a member of the Steam

          community. ―In Greenlight, developers can put up their game concepts (including

          screenshots, preview videos, and early builds) upon which community users can vote for

          these titles. Once titles have received a required number of votes, Valve will determine if

          the title is appropriate for the service, and then start working with the developer to bring

          the game/software to the Steam digital marketplace. Once this stage is reached, the game

          is considered ‗Greenlit‘.‖ 2 So how does the greenlight process actually work?




1
    https://steamcommunity.com/games/593110/announcements/detail/558846854614253751
2
    https://en.wikipedia.org/wiki/Category:Steam_Greenlight_games
          Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 8 of 23




    18. Citing,https://gamedevelopment.tutsplus.com/articles/tips-for-getting-greenlit-on-

        steam-greenlight--gamedev-13938, we find ―that in order to be Greenlit, your game will

        have to rank in the top X of those currently being voted upon… Thus, in order to safely

        ensure comfortable passage onto Steam, you should probably aim for a ranking in the top

        100, if not the top 50. Thus, X equals somewhere between 50 and 100.‖ The article

        further states that at any given time 1,500 games are submitted. Therefore, over any

        annual period hundreds of thousand of games are submitted. Plaintiff‘s game being

        ranked worthy of being included in the community is no small feat. ―Generic RPG Maker

        games, games better suited for mobile devices, and games with inferior graphics litter

        Greenlight, and are almost immediately dismissed by Valve's fickle community.‖ Again,

        plaintiff‘s accomplishment was no small feat.

    19. The article further cites the owners of a game called ―Drifter‖. The owners of that game

        commented on the required number of votes needed for a game to be greenlighted on

        Steam. ―The [Drifter] studio points out that, by their measures, approximately 16,000-

        17,000 votes are needed to crack the top 100, and 50,000 are needed to reach the top ten.‖

        The article was published in 2014 when Steam did not have as many members.

        However, the article points out that approximately 28,000 votes are required to be

        greenlighted by Steam at that time. Over time Steam has acquired substantially more

        members and a much larger community based on the MSN article cited earlier.3

    20. Plaintiff‘s work was ―greenlit‖ on August 26, 2015.


3
 Plaintiff’s work has been widely disseminated see exhibit G thereby giving defendants further access to the
Original Work, see ABKCO Music, Inc. v. Harrisongs Music, LTD., 722 F. 2d 988. Access is defined as having the
opportunity to copy, Favia v. Lyons Partnership No. 94, Civ 3277, 1996 WL 194396, see also, Moyna LLC v.
Victoria’s Secret Direct New York LLC, 2003 WL 21983032. Plaintiff’s Original Work has been viewed on Twitter
6800, the Anas blog 100,000 times, the Adventure Games Forum website 200,000 times, and youtube 3.2 million
views. Clearly, not only did the defendants have direct access, access can be inferred from the wide dissemination.
     Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 9 of 23




21. As stated, defendants have been a member of the Steam community since approximately

    2010, when the first Star Wars games were placed on Steam. As members of the Steam

    community the defendants had direct access to plaintiff‘s game/storyboard, based upon

    the fact that that Original Work was posted for the entire Steam Community, inclusive of

    the defendants, and voted on by said community. Hypothetically, if the defendants or

    their agents did not vote yea or nay for the plaintiff‘s game, they certainly had direct

    access to it.

22. Additionally, it is a known fact that defendant CBS‘ Star Trek Discovery series writers

    and production team are a part of the Steam Community. These individuals had full and

    direct access to the plaintiff‘s Original Work, prior to the start of the Star Trek Discovery

    series. Upon information and belief one of the Star Trek Discovery head writers, Erika

    Lippoldt is a Steam member, and was poled in the greenlight process. This ―link‖ as

    outlined in. Clonus Assocs. v. Dreamworks, LLC, 457 F. Supp. 2d 432, shows a direct

    connection, and combined with the wide dissemination of plaintiff‘s work clearly

    establish access.

23. Plaintiff is the sole and lawful proprietor of all rights, title and interest in and to the

    copyrighted Original Work.

24. The substantial, salient and original aspects of the Original Work, copyrighted under the

    Act and the laws of the United States are as follows: The Original Work centers around a

    novel science fiction story centered on space travel facilitated by a fictitious larva-like

    creature with eight appendages, a multitude of teeth, sized larger than a human being,

    depicted with a blue hue, labeled the ―Tardigrade‖. The Original Work features a

    tardigrade with super powers, these powers focused around space travel especially at
    Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 10 of 23




   exhilarating or instantaneous speeds. An essential element of the game/storyboard

   artwork, script and video include the tardigrade featured floating in space, then moving

   through space at great distances instantaneously. The concept of instantaneous space

   travel based upon the DNA or natural abilities of the fictious creature are original to the

   plaintiff‘s Original Work. The Original Work was in fact eventually named Tardigrades.

   See generally, steamcommunity.com, anas-tronaut.blog.com and the AGS Forums.

25. A list of all of plaintiff‘s posts of the Original Work are stated herein at Exhibit ―K‖. CD

   provided to the Court and Counsel.

26. Plaintiff‘s tardigrade and its abilities from the tardigrade game, artwork, storyboard

   compared with the Tardigrade character from the defendants‘ series are strikingly and/or

   substantially similar. Additionally, prior to plaintiff‘s Original Work being exposed to

   millions online, no other Star Trek series featured a single tardigrade being used for space

   travel or to power a space ship based on the placement of the tardigrade DNA into a

   human being. These scenarios are unique to the plaintiff‘s original work.

27. In further infringement, subsequent episodes of Star Trek Discovery, the defendants

   began using the tardigrades‘ DNA which was injected into a crew member as the means

   to navigate their spaceship. This change thereby creates a derivative work since it was

   based upon plaintiff‘s Original Work. Additionally, the ―chamber‖ in which this injection

   of the tardigrade DNA takes place, is also strikingly and/or substantially similar to the

   plaintiff Original Work. (see exhibit ―B‖ for examples of the similarities.) This type of

   fictional space travel based on tardigrade instantaneous travel is utilized as integral to the

   plot of each and every episode of the infringing work. This fact is borne out in an article

   in ―ScreenRant‖ magazine in which the author states that ―[the] ―introduction of a new
    Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 11 of 23




   alien species is rather unlike anything seen before in Star Trek‖. See also, Exhibit (―C‖).

   Articles from Popular Mechanics, and TV Line. Touting the importance of the Tardigrade

   to the Discovery series. (Exhibit ―D‖).

28. The Original Work features a main character being absorbed into the tardigrade,

   becoming one with the tardigrade, and having the tardigrade‘s abnormal powers. This

   was directly copied by the defendants, as they had direct access to plaintiff‘s work prior

   to development of the Star Trek Discovery Series.

29. Plaintiff‘s Original Work also revolves around a gay relationship between two

   homosexual main characters, one is depicted in the game storyboard and artwork as an

   albino male with a dark complexion male with side burns, mustache, and beard.

   Concomitantly, the defendant‘s series include the exact same characters with

   striking/substantial similarity. Advocate magazine which is widely disseminated within

   the LGBTQ community states that the defendants made history by introducing an openly

   gay couple into the Star Trek universe. (Exhibit ―E‖). This concept is a major part of the

   defendant‘s series and is also a major part of the Original Work. Entertainment Weekly

   also touts the brilliance of the defendant‘s infringement by the first introduction of a gay

   couple in its 51-year history. Indiewire states that ―Star Trek did not bury its gays‖.

   Again, this storyline was first introduced in plaintiff‘s Original Work.

30. The Original Work features uniforms which delineate status rank, etc., again defendant‘s

   infringement includes uniforms which are strikingly/substantially similar to the Original

   Work. Heretofore, the Star Trek series has not used any uniform styled, or colored in this

   manner, until plaintiff‘s Original Work was published. In fact, the Infringing Work‘s
Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 12 of 23




uniforms are a total departure from prior Star Trek uniforms and represents copying of

the Original Work. Other substantially similar characteristics include:

   a. The Original Work also concentrates on main character Blonde White Male with

       similar characteristics as the infringing work, who is a space botanist, a person

       who specializes in plants. The Defendant focuses on a main character who is a

       science officer with an expertise in astromycology. This fictitious word is defined

       by the defendant as the study of ―space mushrooms‖ or in lay terms plants, which

       is substantially similar to the Original Work.

   b. The Original Work features fictional character named Aziz, a darker complexion

       homosexual male with black hair and a short-boxed beard, facial hair consisting

       of trimmed sideburns, mustache, and a goatee. The defendants work features a

       dark complexion male homosexual with black hair a short-boxed beard, facial hair

       consisting of trimmed sideburns, mustache, and a goatee.

   c. The Original Work features fictional character named Carter, who is a blond

       white male, who is a space botanist. Again, the defendant‘s work features a blond

       white male who is an astromycologist (not a real-world word for botanist) .

   d. The Original Work features fictional character named Yolanda, a female of

       African descent with messy curly hair. Defendant‘s series features a female of

       African descent character named Michael Burnham with messy curly hair.

   e. The Original Work features fictional character named Natasha, a white female

       with orange curly hair. Defendant‘s work features a White Female with orange

       curly hair.
Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 13 of 23




  f. The Original Work features Egyptian cultural influence and elements specifically

     throughout the series. The Original Work features an Egyptian spaceship that

     emits signals in the form of light beams called ―The Emitter‖. Defendant‘s first

     episode includes a spaceship called the Sarcophagus surrounded with Egyptian

     like coffins which emitted light signals. The defendant‘s Michal Burnham

     character during one scene called the light beam from the Sarcophagus a ―signal

     emitter.‖

  g. The Original Work features a scene of a giant blue tardigrade traveling through

     space at instantaneous speeds unaided by any external technologies. Defendant‘s

     Star Trek series features scenes of a giant blue traveling through space at

     instantaneous speeds unaided by any external technology.

  h. The Original Work features a scene with imagery of Carter, a blond White Male

     space botanist surrounded by a glowing blue light with scattered white light

     particles being enveloped by the tardigrade. The only human character in

     defendant‘s work, Paul Stamets, a blond white male astromycologist (botanist)

     navigated space within a chamber surrounded by glowing blue light with scattered

     white light particles as he absorbed the tardigrade DNA for later instantaneous

     space travel.

  i. The Original Work features a scene with imagery of a character traveling within

     an astro-plain environment, appearing as space with stars, having echoes of said

     person trailing himself. The defendant‘s work features a substantially similar

     scene wherein there is a background of a space like astro-plain, with a main

     character Michael Burnham seemingly traveling with trails of herself behind her.
    Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 14 of 23




       j. In the comparison video one can see that the defendants also copied the manner in

           which a character arrived in the astroplain, via a device with multiple circular

           disks glowing disks. Plaintiff‘s comparison video demonstrates this at 3 minutes

           17 seconds on the comparison disk, plaintiff has only one circular glowing disk

       k. Additionally, plaintiff‘s spacesuit is designed with an exaggerated egg-shaped

           helmet. The shape of the helmet is considerably larger than the human head. The

           helmet has a square or rectangular instrument on the top. Defendant also has an

           egg-shaped helmet with the rectangular instrument on top in the exact same

           position.



31. Again, the Original Work features physical details, abilities, and functionality of

   tardigrades that have not been published or utilized by anyone else until the copying by

   the infringing work. The appearance, color, size and abilities are essential elements lifted

   from the Original Work which are now essential elements of the Infringing Work.

   (Exhibit ―C/D‖). The characters of the Original Work are strikingly/substantially similar

   to the infringing work in both physical details, functionality and job description.



32. There are fictional characters, aesthetics and re-worked narratives that are unique to the

   Original Work that appear in the Infringing Work. The infringing work captures the total

   concept and feel, as well as, the artwork, and characters. These characteristics have never

   been used in the Star Trek series or films, and the basis for their inclusion now, is due to

   the infringement of the defendants. The defendants work can be considered strikingly

   similar If all the elements copied are viewed as a whole. In general, “[t]here is an inverse
    Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 15 of 23




   relationship between access and probative similarity such that the stronger the proof of

   similarity, the less the proof of access is required.” Jorgensen v. Epic/Sony Records, 351

   F.3d 46 (2d Cir. 2003). In the instant action similarity is striking.

33. ―Plaintiff need not prove access if the similarity between the works is strong enough,

   then the trier of fact does not need to make a separate finding for access, as access will be

   inferred.‖ Repp v. Webber, 132 F.3d 882, 889. "In some cases, the similarities between

   the plaintiffs and defendant's work are so extensive and striking as, without more, both to

   justify an inference of copying and to prove improper appropriation." Arnstein v. Porter,

   154 F.2d 464.

34. The protected likenesses, 4 out of 8 main characters in Star Trek: Discovery were copied

   from the defendant. These characters were integral in every episode dominating most of

   the screen time. Almost every episode of Star Trek Discovery after episode 3 relied on

   the spore drive as a plot device. The spore drive could not function without the

   tardigrade‘s ability to travel quickly through space. Star Trek: Discovery created a

   derivative work by injecting a crew member with tardigrade DNA giving him all its

   abilities, thus a proxy for the creature. Major plot points like mirror universe and the end

   of the klingnon war was resolved with the aid of the spore drive. Additionally, specific

   scenes which were copied are too detailed in similarity to be mere coincidence. Plaintiff‘s

   exhibit‘s clearly show these similarities. In fact, Defendant‘s argument that their

   tardigrade is not blue is easily dismissed by a simple google search (star trek discovery

   tardigrade) which clearly shows depictions of a blue creature.            On the issue of

   substantial similarity "The ordinary observer, unless he set out to detect the disparities,

   would be disposed to overlook them, and regard their aesthetic appeal as the same." Peter
    Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 16 of 23




   Pan Fabrics v. Martin Weiner Corp., 274 F.2d 487, 489 (2d Cir. 1960) Plaintiff has

   submitted substantial proof that the ordinary observer is confused as to origin, based on

   the press, the public; in the news articles, video discussions, and web postings, see

   attached exhibits., see also, google search as outlined above.

35. Plaintiff‘s Original Work was made available to the public since 2014 via various gaming

   portals, and websites as previously asserted, and including without limitation, discussion

   of this fact can be had at http://anas-tronautr.blogspot.com.

36. News of the defendant‘s infringement was highly publicized on the internet. One such

   article highlighting the plagiarism of plaintiff‘s game, at ―Rock Paper Shotgun‖ was

   published very close to the time of the defendant‘s release of Star Trek Discovery. Rock

   Paper Shotgun has approximately 14,000,000 visits to their site. Purportedly said article

   prompted the Vice President of Legal Affairs to contact plaintiff. (Exhibit ―F‖).

37. Plaintiff‘s counsel discussed the matter with the CBS attorney. This discussion was not

   for any settlement purpose. The call was wholly designed to discourage the plaintiff from

   taking legal action for infringement. Plaintiff was told that his Original Work was safe,

   CBS would not sue him for infringement! Such an unethical and subtle threat

   demonstrates the level to which the defendants were willing to descend. The treat not to

   sue plaintiff was made notwithstanding, the fact that plaintiff‘s game, artwork video and

   storyboard had been widely disseminated prior to the conception and/or airing of the

   infringing work. The conversation ended with an assurance of a second call which never

   transpired.

38. Plaintiff created the Original Works by working from a storyboard which he created.

   Plaintiff created all the artwork and/or designs, videos, concepts and storylines prior to
     Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 17 of 23




    Star Trek Discovery and posted this Original Work on the internet. As outlined herein

    defendants infringed plaintiff‘s Original Work, violating his copyright in said works.

39. Plaintiff asserts that in this matter extra-territorial jurisdiction is warranted based on the

    holding in Update Art Inc. v. Modiin Publishing Ltd. 843 F. 2d 67 (1988). The Second

    Circuit Court of Appeals held that ―It is well established that copyright laws generally do

    not have extraterritorial application. There is an exception [Emphasis Added] — when

    the type of infringement permits further reproduction abroad — such as the unauthorized

    manufacture of copyrighted material in the United States.[citing] Peter Starr Prod. Co. v.

    Twin Continental Films, Inc.,783 F.2d 1440, 1443 (9 Cir.1986); Robert Stigwood Group

    Ltd. v. O'Reilly, 530 F.2d 1096, 1100-01 (2 Cir.), cert. denied, 429 U.S. 848 (1976).‖

    Plaintiff‘s assertion of extra-territorial jurisdiction is based on the predicate act of the

    CBS defendants signing a contract with defendant Netfllix in the United States to further

    the manufacture, and distribution of infringing material outside the United States.



                          AS FOR A FIRST CAUSE OF ACTION
                               (PERMANENT INJUNCTION)


40. Plaintiff restates and realleges each and every allegation contained in this Complaint

    with the same force and effect as if fully set forth herein.

41. Plaintiff is the sole and lawful proprietor of all rights, title and interest in and to the

    copyrights to the Original Work.
    Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 18 of 23




42. Defendants had both direct access on Steam, and access via wide dissemination of the

   Original Work by virtue of the Original Work being published with millions of views on

   the internet.

43. Defendants, without Plaintiff‘s authorization, knowledge or consent, willfully infringed

   Plaintiff‘s Original Work by causing to be written, produced, and broadcasted on live

   television and streamed via an on-demand streaming service, a strikingly and/or

   substantially similar copy of plaintiff‘s Original Work, including without limitation,

   reproduction on DVD‘s, and/or live streaming a derivative work entitled ―Star Trek

   Discovery‖ – the Infringing Work—which is strikingly and/or substantially similar to

   Plaintiff‘s Original Work.

44. Accordingly, Defendants have infringed Plaintiff‘s copyright in the Original Work in

   direct violation and contravention of 17 U.S.C. §101 et seq. and 106 et seq. Plaintiff

   seeks impoundment of all copies of the Star Trek Discovery series and the immediate halt

   to its continued airing and/or sales and seeks to bar defendants‘ right to license said

   series.

45. Plaintiff will incur substantial and irreparable injury if Defendants are allowed to

   continue their infringement of the Original Work pending the resolution of this action.

   Plaintiff has sustained and continues to sustain substantial, immediate and irreparable

   injury for which there is no adequate remedy at law, unless defendants are enjoined/

   restrained. Defendants continue to infringe plaintiff‘s Original Work.

46. By reason of the forgoing, Plaintiff is entitled to a permanent injunction pursuant to 17

   U.S.C. §502 enjoining and restraining Defendants from further infringement or broadcast

   of Plaintiff‘s copyrighted Original Work.
    Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 19 of 23




                    AS AND FOR A SECOND CAUSE OF ACTION
              ACTAL DAMAGES FOR COPYRIGHT INFRINGEMENT


47. Plaintiff repeats and realleges each and every allegation contained in this Complaint with

   the same force and effect as if fully set forth herein.

48. Plaintiff is the sole and lawful proprietor of all rights, title and interest in and to the

   copyrighted Original Work.

49. Defendants had both direct and widely disseminated access to the Original Work by

   virtue of the Original Work being on the Steam site which defendants are members of,

   and via the Original Work being published with millions of views.

50. Defendants, without Plaintiff‘s authorization, knowledge or consent, willfully infringed

   on Plaintiff‘s Original Work by causing to be written, produced, and broadcast on live

   television and/or streamed via an on-demand streaming services, including without

   limitation DVD‘s, a strikingly and/or substantially similar derivative work entitled ―Star

   Trek Discovery‖ – the Infringing Work—which is strikingly/substantially similar to

   Plaintiff‘s Original Work.

51. Defendant‘s acts are willful, intentional and purposeful, in violation and disregard of the

   Copyright Act.     Therefore, as a direct and proximate result, plaintiff is entitled to

   damages in an amount to be proven at trial. At a minimum plaintiff is entitled to profits

   defendants derived from the infringement and exploitation thereof pursuant to 17 U.S.C.
     Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 20 of 23




    Section 504(b), including an accounting and constructive trust with respect to such

    profits.

52. Accordingly, Defendants have infringed Plaintiff‘s copyright in the Original Work in

    direct violation and contravention of 17 U.S.C. §101 et seq. and 106, 501 et seq Plaintiff

    seeks impoundment of all copies of the Star Trek Discovery series and seeks to bar

    defendants from infringing on defendants‘ right to license said series.

53. Plaintiff seeks damages based on the profits derived from defendant‘s use of plaintiff‘s

    Original Work. Said Original Work is an integral part of the Star Trek Discovery series

    and continues to be an integral part of that series.

54. Again, by reason of the foregoing, Plaintiff is entitled to actual damages and profits
    pursuant to 17 U.S.C. §504, in an amount to be determined at trial.




                          AS FOR A THIRD CAUSE OF ACTION
                            (ATTORNEY‘S FEES AND COSTS)
55. Plaintiff restates and realleges each and every allegation contained in this Complaint with

    the same force and effect as if fully set forth herein.

56. Plaintiff is the sole and lawful proprietor of all rights, title and interest in and to the

    copyrights Original Work.

57. Defendants had access to the Original Work by virtue of the Original Work being

    published with hundreds of thousands of views.

58. Defendants, without Plaintiff‘s authorization, knowledge or consent, willfully infringed

    on Plaintiff‘s Original Work by causing to be written, produced, and broadcasted on live

    television and streamed via an on-demand streaming service, including without limitation
    Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 21 of 23




   DVD‘s, a derivative work entitled ―Star Trek Discovery‖ – the Infringing Work—which

   is substantially similar to Plaintiff‘s Original Work.

59. Accordingly, Defendants have infringed Plaintiff‘s copyright in the Original Work in

   direct violation and contravention of 17 U.S.C. §101 et seq., 106.

60. Additionally, plaintiff is entitled to attorney‘s fees by virtue of the defendant‘s violation

   of plaintiff‘s copyright in and to the Original Work.

61. By reason of the foregoing, Plaintiff respectfully requests the recovery of all costs as well

   as, attorneys‘ fees in connection with the prosecution of this case pursuant to 17 U.S.C.

   §505.



                       AS FOR A FOURTH CAUSE OF ACTION
                                     (ACCOUNTING)


62. Plaintiff restates and realleges each and every allegation contained in this Complaint with

   the same force and effect as if fully set forth herein.

63. Pursuant to 17 U.S.C. §504, Plaintiff is entitled to recover all of Defendants‘ profits

   attributable to their acts of infringement.

64. Pursuant to 17 U.S.C. §504, Plaintiff is entitled to recover actual damages sustained by

   virtue of Defendants‘ profits attributable to their acts of infringement.

65. The amount of money due from Defendants is presently unknown to Plaintiff and cannot

   be ascertained without a detailed accounting by Defendants of all profits obtained from

   their marketing, distribution, national television broadcasting and//or streaming of the

   Infringing Work.
        Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 22 of 23




   WHEREFORE, the Plaintiff respectfully requests this Court to enter a judgment against the

Defendant for their willful, malicious, writing, producing, and broadcasting on live television

and streamed on an on-demand streaming service, including without limitation, DVD‘s a

derivative work entitled ―Star Trek Discovery‖ – the Infringing Work – which is substantially

similar to Plaintiff‘s Original Work which resulted in, and continues to result in, injuries to

Plaintiff. Accordingly, Plaintiff respectfully requests that this Court:

   a. Issue permanent injunction against the Defendants, and all other in active concert or

       participation with Defendants, from further broadcast/streaming of the Infringing Work

       or other infringement of Plaintiff‘s protected copyrighted Original Work;

   b. Order the Defendants to recall and destroy all copies of the infringing work or any other

       derivatives of Plaintiff‘s Original Work, in whatever form they may exist;

   c. Order Defendants to pay Plaintiff an amount to be determined at trial in actual damages

       and profits, plus interest, Pursuant to 17 U.S.C. §504. the exact amount to be determined

       at trial;

   d. Order Defendant to pay Plaintiff both the costs of this action and the reasonable

       attorney‘s fees incurred by Plaintiff in prosecuting this action pursuant to 17 U.S.C. §505.

   e. Order the imposition of a constructive trust over Defendant‘s profit which resulted from

       their infringement of Plaintiff‘s Original Work;

   f. Order that Defendants provide Plaintiff a full and complete accounting of all profits

       obtained from their marketing, distribution, streaming and national television

       broadcasting and/or any other sales of the Infringing Work and any other amounts due

       and owing to Plaintiff as a result if Defendant‘s infringement; and

   g. Grant Plaintiff such other and additional relief as the Court deems just and proper.
        Case 1:18-cv-07543-LGS Document 50 Filed 01/17/19 Page 23 of 23




                                         Jury Demand
Pursuant to Rule 38(b) of Federal Rules of Civil Procedure, Plaintiff respectfully demands that
this proceeding be tried to a jury.
Dated: 1/14/2019
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